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United States District Court

NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
HC OPERATING, LP et al. §
§
v. § CIVIL ACTION NO. 3:19-CV-2425-S-BN
§
ATLAS APARTMENTS §
ACQUISITION LLC and STEVEN §
IVANKOVICH §

ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

The United States Magistrate Judge made findings, conclusions, and a recommendation in
this case, No objections were filed. After making an independent review of the pleadings, files,
and records in this case, and the Findings, Conclusions, and Recommendation of the United States
Magistrate Judge dated April 17, 2020, the Court finds that the Findings Conclusions, and
Recommendation of the Magistrate Judge are correct and they are accepted as the Findings,
Conclusions, and Recommendation of the Court.

It is, therefore, ORDERED that the Findings, Conclusions, and Recommendation of the
United States Magistrate Judge are accepted.

SO ORDERED.

SIGNED May_,5_, 2020.

   

A. .

KAREN GREN SCHOLER
UNITED STATES DISTRICT JUDGE

 

 
